  Duval
Case    Charles C
     4:09-cr-00043-SPF Document 75-20 Filed in USDC ND/OK on 06/01/09 Page 1 of 1
  From:        Concannon Thomas M
  sent:       Thursday, March 06, 20039:23 AN.
  To:          *lOC
  Cc:            Fowler Bobbie J
  Subject:       help needed
  Signed       (There were errors displaying the signers of this message, please click on the signature icon for
  By:          more details:)              .

  I've been asked to find out if it there is an ongoing promoter action on lindsey K Springer, 444·78-3758. We
  have a referral from a RA in Oklahoma relating to Mr Springer's current and continued non filer status. I
  penonned an internet search and found he has quite a checkered past with promoter involvement in the
  Omega Group
  interest         Prime
           is that he's   Bank
                        been   scam, Bondage
                             appointed        Breakers
                                       by God to do battleMinistry
                                                           with th9and TheSo
                                                                     IRS.  Infinity
                                                                             couldGroup
                                                                                    be up Company.  Of additional
                                                                                          against some stiff
  competition if we decide to work him.

  Please respond at your eartiest convenience regarding our Interest to pursue him as a non filer.
  Tom Concannon, RA
  Area 10 RPC
  512-499-5013




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                                                                Lead Development Center




 03/07/2003



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